                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION


SHEILA ANN TANT,                                     )
                                                     )
                       Plaintiff,                    )
                                                     )       JUDGMENT IN A CIVIL CASE
       v.                                            )
                                                     )       CASE NO. 5:17-CV-274-D
KILOLO KIJAKAZI, Acting Commissioner of              )
Social Security,                                     )
                 Defendant.                          )


Decision by Court.
This action came before this Court for ruling as follows.

IT IS ORDERED, ADJUDGED, AND DECREED that attorney's fees be granted in the
amount of $15,594.13, which represents 25% of the past due benefits awarded to Plaintiff, and
that such fees be remitted to primary counsel for Plaintiff, Charles E. Binder. Upon receipt of this
sum, counsel for Plaintiff will remit the previously awarded Equal Access to Justice Act fees
paid in this case in the amount of $5,818.82 directly to Plaintiff.


This Judgment Filed and Entered on November 15, 2021, and Copies To:
Pamela Marie Henry-Mays                                      (via CM/ECF electronic notification)
Cassia W. Parson                                             (via CM/ECF electronic notification)
Leah F. Golshani                                             (via CM/ECF electronic notification)




DATE:                                         PETER A. MOORE, JR., CLERK
November 15, 2021                             (By) /s/ Nicole Sellers
                                               Deputy Clerk




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